                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                            Case No. 25-CR-89
       v.

HANNAH C. DUGAN,

                      Defendant.


            [PROPOSED] PROTECTIVE ORDER GOVERNING DISCOVERY


       The United States of America, by its attorney, Richard G. Frohling, Acting United States

Attorney, and defendant Hannah Dugan, by her attorneys, Steven M. Biskupic, Jason D. Luczak

and Nicole M. Masnica, have jointly moved and stipulated to the use and disclosure of discovery

materials. For the reasons stated therein, and for good cause shown, the court APPROVES the

stipulation. Accordingly, the court ORDERS that:

       1.      All the materials provided by the United States in preparation for, or in connection

with, any stage of the proceedings in this case (collectively, “the materials”) are subject to this

protective order.

       2.      The protective order does not limit the defendant or her counsel (defined as counsel

of record in this case or other lawyers retained to consult on this case) from disclosing any

information she already possessed that may also be included in the government’s discovery. The

defense may also host the government’s discovery on e-discovery platforms or with other service

providers, as necessary for review and analysis of the government’s discovery.




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       3.      The parties shall not disclose the materials directly or indirectly to any other person

or entity other than those connected with the litigation of this matter.

       4.      The materials may be used by the defendant and her counsel solely in connection

with the defense of this case, and for no other purpose, and in connection with no other proceeding,

without further order of this Court.

       5.      The defendant and the defendant’s counsel may only disclose the materials to those

employed to assist in the defense, persons who are interviewed as potential witnesses, counsel for

potential witnesses, and other persons to whom the Court may authorize disclosure (collectively,

“authorized persons”).

       6.      The defendant and her counsel shall not copy or reproduce the materials except to

provide copies of the materials for use in connection with this case by the defendant and

defendant’s counsel. Such copies and reproductions shall be treated in the same manner as the

original materials.

       7.      The defendant and her counsel, as well as authorized persons, shall not disclose any

notes or records of any kind that they make in relation to the contents of the materials and all such

notes or records are to be treated in the same manner as the original materials.

       8.      Before disclosing materials to an authorized person, defense counsel must provide

the authorized person with a copy of this Order.

       9.      Upon conclusion of all stages of this case, all the materials and all copies made

thereof shall be disposed of in one of three ways, unless otherwise ordered by the Court. The

materials may be (1) destroyed; (2) returned to the United States; or (3) retained in defense

counsel’s case file. In the event the materials are retained by defense counsel, the restrictions of




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this Order continue in effect for as long as the materials are so maintained, and the materials may

not be disseminated or used in connection with any other matter without further order of the Court.

       10.     The restrictions set forth in this Order do not apply to materials that are or become

part of the public court record, including documents that have been received in evidence at any

motion or evidentiary hearings, trial, or filed as part of this case. Personal identifying information

contained in any discovery material shall be redacted if the discovery material is filed with this

Court. If it is necessary for the Court to review the personal identifying information contained

within the discovery materials or a description thereof, such filing shall be made under seal.

       11.     Nothing contained in this Order shall preclude any party from applying to this

Court for further relief or for modification of any provision hereof.

       SO ORDERED this _______ day of May, 2025.



                                                      ______________________________
                                                      NANCY JOSEPH
                                                      United States Magistrate Judge




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